                 Case 24-09995                       Doc 24          Filed 07/24/24 Entered 07/24/24 11:23:37                     Desc Main
                                                                       Document     Page 1 of 6
 Fill in this information to identify your case:
 Debtor 1               Robert Divilbiss, Sr.
                              First Name            Middle Name             Last Name
 Debtor 2
 (Spouse, if filing) First Name       Middle Name           Last Name
 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF ILLINOIS                                        Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                 1:24-bk-9995                                                                             have been changed.
                                                                                                                       2.1; 2.5; 3.2; 4.2; 5.1; 8.1
 (If known)


Official Form 113
Chapter 13 Plan                                                                                                                                              12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
                           not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                           attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                           includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
                           ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in a            Included                    Not Included
              partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$2,232.00 per Month for 60 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
              to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.

              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.


APPENDIX D                                                                      Chapter 13 Plan                                                 Page 1
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               Case 24-09995                    Doc 24               Filed 07/24/24 Entered 07/24/24 11:23:37                     Desc Main
                                                                       Document     Page 2 of 6
                        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
                        and will turn over to the trustee all income tax refunds received during the plan term.

                        Debtor(s) will treat income refunds as follows:



2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5         The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $133,920.00.

 Part 3:     Treatment of Secured Claims

3.1         Maintenance of payments and cure of default, if any.

            Check one.
                    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2         Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                        None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                        The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                        The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                        claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                        secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed
                        in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed
                        claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                        The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of
                        this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated
                        in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s
                        total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                        The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                        property interest of the debtor(s) or the estate(s) until the earlier of:

                        (a) payment of the underlying debt determined under nonbankruptcy law, or

                        (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


 Name of             Estimated           Collateral             Value of       Amount of       Amount of            Interest     Monthly         Estimated
 creditor            amount of                                  collateral     claims senior   secured claim        rate         payment to      total of
                     creditor's                                                to creditor's                                     creditor        monthly
                     total claim                                               claim                                                             payments
                                         2600 John
                                         Bourg Dr.,
                                         Plainfield, IL
                                         60586
                                         Will County
 P&N                                     PIN #
 Properties          $20,384.7           06-03-30-40                                                                  18.00                        $31,058.3
 Inc.                9                   7-001-0000             $275,000.00     $26,824.15         $20,384.79            %          $517.64                6
                                         2600 John
                                         Bourg Dr.,
                                         Plainfield, IL
                                         60586
                                         Will County
 Will                                    PIN #
 County              $26,824.1           06-03-30-40                                                                  18.00
 Treasurer           5                   7-001-0000             $275,000.00          $0.00          $6,439.36            %          $163.52        $9,810.93
 Exeter                                  2012
 Finance                                 Volkswagen
 LLC                 $4,147.68           Passat                 $5,000.00            $0.00          $4,147.68        8.50%          $538.06        $4,304.51
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               Case 24-09995                    Doc 24               Filed 07/24/24 Entered 07/24/24 11:23:37                  Desc Main
                                                                       Document     Page 3 of 6
 Name of             Estimated           Collateral             Value of       Amount of       Amount of            Interest   Monthly        Estimated
 creditor            amount of                                  collateral     claims senior   secured claim        rate       payment to     total of
                     creditor's                                                to creditor's                                   creditor       monthly
                     total claim                                               claim                                                          payments
 Santander                               2017
 Consumer            $17,522.0           Mitsubishi
 USA, Inc.           0                   Outlander              $2,000.00            $0.00         $2,000.00         8.50%       $259.45         $2,075.63
 Will
 County
 Clerk               $0.00                                      $0.00                $0.00             $0.00         0.00%          $0.00              $0.00

Insert additional claims as needed.

 3.3        Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                        None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4         Lien avoidance.

Check one.
                        None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5         Surrender of collateral.

            Check one.
                    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:     Treatment of Fees and Priority Claims

4.1         General
            Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
            without postpetition interest.

4.2         Trustee’s fees
            Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 6.00% of plan payments; and
            during the plan term, they are estimated to total $7,580.40.

4.3         Attorney's fees.

            The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,500.00.

4.4         Priority claims other than attorney’s fees and those treated in § 4.5.

            Check one.
                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                    The debtor(s) estimate the total amount of other priority claims to be $4,500.00

4.5         Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

            Check one.
                    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims

5.1         Nonpriority unsecured claims not separately classified.

            Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
            providing the largest payment will be effective. Check all that apply.

               The sum of $  .
                 100.00 % of the total amount of these claims, an estimated payment of $           70,070.52    .



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               Case 24-09995                    Doc 24               Filed 07/24/24 Entered 07/24/24 11:23:37              Desc Main
                                                                       Document     Page 4 of 6
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



               If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
               $ 199,711.21 . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least
               this amount.

5.2         Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                        None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3         Other separately classified nonpriority unsecured claims. Check one.

                        None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:     Executory Contracts and Unexpired Leases

6.1         The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
            and unexpired leases are rejected. Check one.

                        None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:     Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the applicable box:
            plan confirmation.
            entry of discharge.
            other:

 Part 8:     Nonstandard Plan Provisions

8.1         Check "None" or List Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
 The claim for property taxes filed by the Will County Treasurer's Office shall be paid as follows. The portion of the claim for 2023 taxes
 shall be paid pursuant to section 3.2 of the plan. The portion of their claim for $20,384.79, which represents a contingent claim for 2020,
 2021, and 2022 property taxes shall not be paid by the trustee, as the tax buyer, P&N Properties, Inc., filed a claim, which includes the
 amount due for 2020, 2021, and 2022 taxes.

 The Debtor shall be responsible for making payments to the Will County Treasurer for all post petition real estate taxes.



 Part 9:     Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s), if
any, must sign below.
 X /s/ Robert Divilbiss, Sr.                                             X
       Robert Divilbiss, Sr.                                                  Signature of Debtor 2
       Signature of Debtor 1

       Executed on          July 24, 2024                                              Executed on

 X     /s/ Ben Schneider                                                        Date     July 24, 2024
       Ben Schneider
       Signature of Attorney for Debtor(s)

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               Case 24-09995                    Doc 24               Filed 07/24/24 Entered 07/24/24 11:23:37       Desc Main
                                                                       Document     Page 5 of 6
By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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               Case 24-09995                    Doc 24               Filed 07/24/24 Entered 07/24/24 11:23:37                Desc Main
                                                                       Document     Page 6 of 6

Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                  $0.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                  $47,249.43

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                     $0.00

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                           $0.00

 e.    Fees and priority claims (Part 4 total)                                                                                              $16,580.40

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                            $70,070.52

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                           $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                     $0.00

 j.    Nonstandard payments (Part 8, total)                                                                    +                                    $0.00

 Total of lines a through j                                                                                                               $133,900.35
                                                               United States Bankruptcy Court
                                                                       Northern District of Illinois
  In re     Robert Divilbiss, Sr.                                                                            Case No.     1:24-bk-9995
                                                                                   Debtor(s)                 Chapter      13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on July 24, 2024, a copy of    was served electronically or by regular United States mail to all
interested parties, the Trustee and all creditors listed below.

 -NONE-



                                                                                 /s/ Ben Schneider
                                                                                 Ben Schneider
                                                                                 The Law Offices of Schneider and Stone
                                                                                 8424 SKOKIE BLVD SUITE 200
                                                                                 Skokie, IL 60077
                                                                                 (847) 933-0300 Fax:
                                                                                 ben@windycitylawgroup.com




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